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              EXHIBITC
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                       INTHE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

 LOUIS WENDELL AND MELVIN §
 WENDELL, §

    Plaintiff, §                                         Civil Action No.

 v. §

 MORTGAGE ASSETS MANAGEMENT, §
 LLC C/O PHH MORTGAGE §
 CORPORATION, §

    Defendant. §

                        DECLARATION OFNICHOLAS M.FRAME

        Pursuant to28U.S.C. §1746, Ideclare under penalty ofperjury that thefollowing

statements aretrueandcorrect:

        1.      My name isNicholas M.Frame Iamover theage of21years and amfully

competent tomake thisDeclaration. Allstatements offactmade herein are true, correct, and within

mypersonal knowledge.

        2.      Iam anattorney forMackie Wolf Zientz & Mann, P.C.,attorneys for Mortgage

Asset Management, LLC c/o PHH Mortgage Corporation (“ Defendant”).

        3.      Icertify that onJune 15, 2022, myfirm searched fortheBexar County Appraisal

District’svaluation of 4718 Lyceum Drive, San Antonio, Texas 78229. We found theappraisal

record fortheProperty. Atrueandcorrect copy oftheappraisal record isattached hereto asExhibit

C-1.

        4.      Icertify thefollowing documents attached hereto aretrue and correct copies ofthe

originals, which Iobtained from theAppraisal District website forBexar County. This document

isidentified asanexhibit tothisDeclaration asindicated below:

DECLARATION OFMARK D.CRONENWETT
MWZM: 17-000059-952                                                                   PAGE 1OF 2
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      C-1    DataSheet fromthe Bexar County, TexasCentral Appraisal District web-siteon
             June15,2022.

Thisdocument isincorporated byreference forallpurposes.

      FURTHER DECLARANT SAYETH NOT.”

      SIGNED ANDDECLARED onJune16,2022.




                                        NICHOLAS M.FRAME




DECLARATION OFMARKD.CRONENWETT
MWZM: 17-000059-952                                                           PAGE 2OF 2
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